               Dated: 3/6/2018




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:

ANDY LAMAR ALLMAN,                                         Case No. 17-03085-CW3-7


                             Debtor


                                  ORDER AUTHORIZING TRUSTEE TO EMPLOY
                                  LAW OFFICE OF ROBERT H. WALDSCHMIDT
                                      AS ATTORNEY FOR THE TRUSTEE


                 Upon the motion of Robert H. Waldschmidt, trustee, for approval to employ the Law Office of
         Robert H. Waldschmidt as attorney for the trustee, and it further appearing that said attorney represents no
         interest adverse to the debtor’s estate, twenty-one (21) days notice having been given pursuant to LR
         9013-1 of this court, and no adverse interest appeared or objections were filed;
                 IT IS HEREBY ORDERED that Robert H. Waldschmidt, trustee, is authorized to employ the
         Law Office of Robert H. Waldschmidt as attorney to represent the trustee as counsel in this matter; said
         employment shall be effective from the date of the filing of the motion to employ on 2/14/18, and said
         Law Office may seek compensation for services rendered on or after the date of the filing of said motion.
                 IT IS FURTHER ORDERED that counsel for the trustee shall make application to the court for
         approval of all compensation pursuant to 11 USC §§ 330, 331, the Federal Rules of Bankruptcy
         Procedure, the Local Rules of this court and the U.S. Trustee Fee Guidelines.
                 This order was signed and entered electronically as indicated at the top of the first page.


         APPROVED FOR ENTRY:

         /s/Robert H Waldschmidt
         ROBERT H. WALDSCHMIDT (#4657)
         7003 Chadwick Drive, Suite 211
         P.O. Box 2828
         Brentwood, TN 37024-2828
         (615) 468-1020; (615) 259-2179 (fax)                                        This Order has been electronically
         rhw@rhwlawoffice.com                                                        signed. The Judge's signature and
                                                                                     Court's seal appear at the top of the
                                                                                     first page.
                                                                                     United States Bankruptcy Court.

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